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                                                  U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York

                                                      The Jacob K. Javits Federal Building
                                                      26 Federal Plaza, 37th Floor
                                                      New York, New York 10278


        New York, New York 10007                       March 26, 2025

BY ECF
     New York, New York 10007

        New York, New York 10007
The Honorable Victor Marrero
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

        Re:       United States v. Nikhil Gupta, S2 23 Cr. 289 (VM)

Dear Judge Marrero:

        The Government writes, with the consent of the defense, to adjust the proposed schedule
jointly submitted by the parties on March 21, 2025. (Dkt. 42). Due to the need for intra-
Governmental coordination, the Government respectfully requests that its ex parte classified
motion pursuant to Section 4 of the Classified Information Procedures Act (“CIPA”) be due on
July 11, 2025 instead of May 15, 2025. Under this proposal, the Rule 12 and CIPA briefing would
be complete on the same date. The revised proposed schedule is as follows:

    •   May 15, 2025: Defense Rule 12 motions due

    •   June 20, 2025: Government’s opposition to Defense Rule 12 motions due

    •   July 11, 2025: Defense reply in support of Rule 12 motions and Government’s CIPA
        Section 4 motion due

    •   Any date in August 2025: Conference or hearing on pretrial motions

    •   Six weeks before trial: Motions in limine, joint requests to charge, joint proposed voir dire,
        and joint list of names, entities, and locations due

    •   Four weeks before trial: Opposition to motions in limine due

    •   Three weeks before trial: Replies in support of motions in limine due

    •   Two weeks before trial: Final pretrial conference

    •   Any date in November 2025: Trial
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      The parties are available to discuss the proposed schedule further at the conference on
March 28, 2025.

                                           Respectfully submitted,

                                           MATTHEW PODOLSKY
                                           Acting United States Attorney


                                     by:
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                                           Ashley C. Nicolas
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cc:    Michael Rooney, Esq. (by ECF)
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